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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
VS. : CRIMINAL NO. 20-CR-210

MICHAEL “OZZITE” MYERS”

ORDER

AND NOW, to wit, this day of , 2020, upon consideration
of the within Motion to Bar Admission of Audiotapes, Response thereto and Argument
thereon, it is hereby ORDERED and DECREED that:

Defendant’s Motion is granted and the Government is prohibited from introducing

the audiotapes at time of trial.

BY THE COURT:

 
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IN THE UNITED STATES DISTRICT’ COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA
VS. : CRIMINAL NO. 20-CR-210

MICHAEL “OZZTE” MYERS”

MOTION TO BAR ADMISSION OF THE AUDIOTAPES

1. Michael Myers is hereinafter referred to as Defendant.
2. Defendant is charged in an eight count Indictment.

3. The Government alleges that Defendant paid money to Domenic Demuro,
cooperating defendant, to vote multiple times in an effort to stuff the ballot box. Defendant

denies these allegations.

4, During the course of the Government’s investigations cooperating defendant wore a

hidden microphone and recorded a number of conversations with Defendant and others.

5. Before any ruling on the admissibility of the tapes between DeMuro and other
persons (not Defendant) the Court must determine if these statements in the tapes are
admissible in evidence. Defendant submits these taped conversations are hearsay. In
addition, these statements are not admissible as a statement made bya coconspirator under
Federal Rule of Evidence 801(d)(2)(E) because there is no evidence of a conspiracy between

DeMuro, Defendant and those intercepted on Demuro’s wire. These statements are hearsay

 
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and are inadmissible regardless of Starks. If the Court finds they are not hearsay statements

and/or are admissible hearsay they are inadmissible for failing to meet the requirements of

Starks and/or Fed. R. Evid, 901(a).

6. Defendant believes the Government intends to introduce some/all of these
recordings at Defendant’s trial.

7. Defendant believes and therefore avers, unless and until evidence to the contrary is
presented, that the 1) recording device was not capable of recording the conversations in this
case; 2) the operator of the device was not competent; 3) the recording or copy of the same
is not authentic and correct; 4) changes, deletions may have been made to the recordings;
5)recordings were not preserved; 6) speakers are not identified; 7) conversation were not

voluntarily made, nor were they made in good faith without any kind of inducements.

8. Before a sound recording is admitted into evidence, a foundation must be
established by showing the following facts: (1) That the recording device was capable of
taking the conversation now offered in evidence; (2) That the operator of the device was
competent to operate the device; (3) That the recording is authentic and correct; (4) That
changes, additions or deletions have not been made in the recording; (5) That the recording
had been preserved in a manner that is shown to the court; (6) That the speakers are
identified; and (7) That the conversation elicited was made voluntarily and in good faith,
without any kind of inducement. United States v. Starks, 515 F.2d 112, 122 (3d Cir, 1975).
Starks pre-dates Federal Rule of Evidence 901(a) which provides that "[tJo satisfy the
requirement of authenticating or identifying an item of evidence, the proponent must
produce evidence sufficient to support a finding that the item is what the proponent claims
it is. Fed, R. Evid, 901{a)’, While there is some uncertainty regarding whether Rule
901(a) supersedes the Starks standard, see United States v. Madera, No, 17-CR-298, 2019
WL 2509896, at *3 (MLD. Pa. June 14, 2019), the Third Circuit has continued to consider
the Starks factors, Madera stated, "Many courts have found Starks application less critical in
light of Federal Rule of Evidence 901." United States v. Davis, No. CR 18-270, 2018 US.
Dist. LEXIS 209333, 2018 WL 6524240, at *8 (E.D. Pa, Dec, 12, 2018) (citing United States
v. Tan Le, 542 F, App'x 108, 117 n,9 (3d Cir, 2013) (Rendell, J.) ("It is unclear

whether Starks remains relevant after the enactment of Fed, R. Evid, 901."); United States v.

 

 
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Kabont, No. 07-550-03, 2013 U.S. Dist. LEXIS 14327, 2013 WL 420334, at *2.n.5 (E.D. Pa,
Feb. 4, 2013) ("There has been uncertainty as to whether Congress’ adoption of the Federal
Rules of Evidence and, specifically Rule 901, abrogated Starks .")). However, the Circuit
Court continues to reference the Starks factors in the consideration of the admissibility of

audio recordings. See, ¢.g., Flood v. Schaefer, 754 Fed. Appx, 130, 133 (3d Gir, 2018) (not

precedential). Therefore, this Court will consider the Starks factors but, as advised

 

by Credico, 718 F. App'x at 119, the Court will not apply them as a rigid standard, Further,
the Court will determine "whether the proof of facts creates a sufficient foundation for the

admission of a tape recording," using the burden of proof for authentication generally. See,

e.g. Flood v. Schaefer, 754 F. App’x 130, 133 (3d Cir, 2018) (non-precedential).

9. Defendant submits the Government must meet the requirements set out in Starks,
supra., to establish admissibility of the tapes. With regard to the admission of tapes the
Government must establish issues stated in Starks, supra., by clear and convincing evidence.
See Starks, supra., and United States v. Mack, 2020 U.S. Dist. LEXIS 170291,

10. Defendant submits the Government will not be able to meet its burden to
authenticate the tapes pursuant to Starks or Fed R. Evidence Rule 901. For these reasons the

tapes are not admissible.

WHEREFORE the Court finds the Government failed to authenticate the
recordings and they are barred from use at Defendant's trial.

MOTION TO SUPPRESS THE TAPES
10. Defendant moves to incorporate paragraphs 1 thru 9 above,

11. The Government may intercept and record communications without Court
authorization provided that a party to the communication consents to the
interception. See 18 U.S.C. § 2511 (2) (c); United States y. Santillo, 507 F.2d 629, 633-34 (3d
Cir, 1975). Determining whether a person's consent to the recording of a phone
conversation is "voluntary" is not a simple task. See Culombe y. Connecticut, 367 US. 568,
604-05, 6 L, Ed, 2d 1037, 81 S. Ce. 1860 (1961) (opinion of Frankfurter, J.). It is a question

of fact, which the court must determine from the totality of the circumstances. Schneckloth

 
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v, Bustamonte, 412 US, 218, 227, 36 L. Ed, 2d 854, 93 S, Cx. 2041 (1973); United States v.
Sanford, 673 F.2d 1070, 1072 (9th Gir, 1982); United States v. Brandon, 633 F.2d 773, 776
(9th Cir. 1980). Consent to a wiretap is not voluntary where it is coerced Schneckloth, 412
US. at 228; Osser, 483 F.2d at 730. An individual's decision to allow the police to record a

phone conversation, however, is not necessarily involuntary just because that individual's

 

motives were self-seeking, or because he harbored expectations of personal

benefit. Moskow, 588 F.2d at 891; Osser, 483 F.2d at 730. Rather consent will be

considered voluntary if, from the totality of the circumstances, the trial court determines that
the party agreeing to a wiretap did so consciously, freely, and independently and not as the

result of a coercive overbearing of his will.

12. Defendant submits that Cooperating Defendant did not voluntarily consent to
the recordings in this case, but was in fact obtained, either by explicit or implicit means or by

nplied threat or covert force.

13. The issue of consent is a factual question for the Court to determine. Defendant
submits after a hearing the evidence will show party agreeing to a recorded conversation did

not do so consciously, freely, and independently and not as the result of a coercive
overbearing of his will.

WHEREFORE, DEFENDANT prays the Court will suppress the recorded conversations
and bar their use at trial.

RESPECTFULLY SUBMITTED:

By: _/s/ Neds Gerson
NOAH GORSON, ESQUIRE
ATTORNEY FOR DEFENDANT

By: _/s/ Arnold Sifverstetn
ARNOLD SILVERSTEIN, ESQUIRE
ATTORNEY FOR DEFENDANT

 
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Motion was served
upon the following in the manner indicated on today's date of October 2, 2020.

ECF
Honorable Paul 8, Diamond
US. Courthouse
601 Market Street, Room 14614
Philadelphia, PA 19106-1773

ECF
Department of Justice
United States Attorney=s Office
Eastern District of Pennsylvania
Assistant United States Attorney
Eric Gibson, Esq.
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By: _/s/ Noah Gorson
NOAH GORSON, ESQUIRE

 
